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                         EXHIBIT J
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        General Terms and Conditions for Non-Research
              Grant and Cooperative Agreements
Incorporation: The Department of Health and Human Services (HHS) grant recipients must
comply with all terms and conditions outlined in the Notice of Funding Opportunity (NOFO), their
Notice of Award (NOA), grants policy contained in applicable HHS Grants Policy Statements, 45
CFR Part 75, requirements imposed by program statutes and regulations, Executive Orders, and
HHS grant administration regulations, as applicable; as well as any requirements or limitations in
any applicable appropriations acts. The term grant is used throughout these general terms and
conditions of award and includes cooperative agreements.

Note: In the event that any requirement in the NOA, the NOFO, the HHS Grants Policy Statement,
45 CFR Part 75, or applicable statutes/appropriations acts conflict, then statutes and regulations
take precedence.

FEDERAL REGULATIONS AND POLICIES
45 CFR Part 75 – Uniform Administrative Requirements, Cost Principles, and Audit Requirements
for HHS Awards.
https://www.ecfr.gov/cgi-bin/text- idx?node=pt45.1.75&rgn=div5

HHS Grants Policy and Regulations
https://www.hhs.gov/grants/grants/grants-policies-regulations/index.html

HHS Grants Policy Statement
https://www.hhs.gov/sites/default/files/grants/grants/policies-regulations/hhsgps107.pdf

Federal Funding Accountability and Transparency Act (FFATA)
https://www.fsrs.gov/

Trafficking In Persons: Consistent with 2 CFR 175, awards are subject to the requirements of
the Trafficking Victims Protection Act of 2000, as amended (22 U.S.C. Part 7104(g)).
https://www.law.cornell.edu/cfr/text/2/part-175

CDC Additional Requirements (AR) may apply. The NOFO will detail which specific ARs apply
to resulting awards. Links to full texts can be found at:
https://www.cdc.gov/grants/additional-requirements/index.html.




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FUNDING RESTRICTIONS AND LIMITATIONS
Cost Limitations as stated in Appropriations Acts. Recipients must follow applicable fiscal
year appropriations law in effect at the time of award. See AR-32 Appropriations Act, General
Requirements: https://www.cdc.gov/grants/additional-requirements/ar-32.html.

Though Recipients are required to comply with all applicable appropriations restrictions,
please find below specific ones of note. CDC notes that the cited section for each below
provision may change annually.
  A. Cap on Salaries (Division H, Title II, General Provisions, Sec. 202): None of the funds
     appropriated in this title shall be used to pay the salary of an individual, through a grant or
     other extramural mechanism, at a rate in excess of Executive Level II.

      Note: The salary rate limitation does not restrict the salary that an organization may pay an
      individual working under an HHS contract or order; it merely limits the portion of that salary that
      may be paid with federal funds.

  B. Gun Control Prohibition (Div. H, Title II, Sec. 210): None of the funds made available in this title
     may be used, in whole or in part, to advocate or promote gun control.

  C. Lobbying Restrictions (Div. H, Title V, Sec. 503):
     503(a): No part of any appropriation contained in this Act or transferred pursuant to section
      4002 of Public Law 111-148 shall be used, other than for normal and recognized executive-
      legislative relationships, for publicity or propaganda purposes, for the preparation, distribution,
      or use of any kit, pamphlet, booklet, publication, electronic communication, radio, television, or
      video presentation designed to support or defeat the enactment of legislation before the
      Congress or any State or local legislature or legislative body, except in presentation to the
      Congress or any State or local legislature itself, or designed to support or defeat any proposed
      or pending regulation, administrative action, or order issued by the executive branch of any
      State or local government itself.
     503(b): No part of any appropriation contained in this Act or transferred pursuant to section
      4002 of Public Law 111-148 shall be used to pay the salary or expenses of any grant or
      contract recipient, or agent acting for such recipient, related to any activity designed to
      influence the enactment of legislation, appropriations, regulation, administrative action, or
      Executive order proposed or pending before the Congress or any State government, State
      legislature or local legislature or legislative body, other than for normal and recognized
      executive-legislative relationships or participation by an agency or officer of a State, local or
      tribal government in policymaking and administrative processes within the executive branch of
      that government.
     503(c): The prohibitions in subsections (a) and (b) shall include any activity to advocate or
      promote any proposed, pending or future federal, state or local tax increase, or any
      proposed, pending, or future requirement or restriction on any legal consumer product,
      including its sale of marketing, including but not limited to the advocacy or promotion of gun
      control.


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  For additional information, see Additional Requirement 12 at
  https://www.cdc.gov/grants/additional-requirements/ar-12.html.

  D. Needle Exchange (Div. H, Title V, Sec. 520): Notwithstanding any other provision of this Act,
     no funds appropriated in this Act shall be used to carry out any program of distributing sterile
     needles or syringes for the hypodermic injection of any illegal drug.

  E. Blocking access to pornography (Div. H, Title V, Sec. 521): (a) None of the funds made
     available in this Act may be used to maintain or establish a computer network unless such
     network blocks the viewing, downloading, and exchanging of pornography; (b) Nothing in
     subsection (a) shall limit the use of funds necessary for any federal, state, tribal, or local law
     enforcement agency or any other entity carrying out criminal investigations, prosecution, or
     adjudication activities.

Prohibition on certain telecommunications and video surveillance services or equipment. (Pub.
L. 115-232, section 889.): For all new, non-competing continuation, renewal or supplemental awards
issued on or after August 13, 2020, recipients and subrecipients are prohibited from obligating or
expending grant funds (to include direct and indirect expenditures as well as cost share and program
funds) to:

        1. Procure or obtain,
        2. Extend or renew a contract to procure or obtain; or
        3. Enter into contract (or extend or renew contract) to procure or obtain equipment, services, or
           systems that use covered telecommunications equipment or services as a substantial or
           essential component of any system, or as critical technology as part of any system. As
           described in Pub. L. 115-232, section 889, covered telecommunications equipment is
           telecommunications equipment produced by Huawei Technologies Company or ZTE
           Corporation (or any subsidiary or affiliate of such entities).
               i.  For the purpose of public safety, security of government facilities, physical security
                   surveillance of critical infrastructure, and other national security purposes, video
                   surveillance and telecommunications equipment produced by Hytera
                   Communications Corporation, Hangzhou Hikvision Digital Technology Company, or
                   Dahua Technology Company (or any subsidiary or affiliate of such entities).
              ii.  Telecommunications or video surveillance services provided by such entities or
                   using such equipment.
             iii.  Telecommunications or video surveillance equipment or services produced or
                   provided by an entity that the Secretary of Defense, in consultation with the Director
                   of the National Intelligence or the Director of the Federal Bureau of Investigation,
                   reasonably believes to be an entity owned or controlled by, or otherwise, connected
                   to the government of a covered foreign country.

President's Emergency Plan for AIDS Relief (PEPFAR) funding is exempt from the prohibition under
Pub. L. 115-232, section 889 until September 30, 2022. During the exemption period, PEPFAR
recipients are expected to work toward implementation of the requirements.

Cancel Year: 31 U.S.C. Part 1552(a) Procedure for Appropriation Accounts Available for Definite
Periods states the following: On September 30th of the 5th fiscal year after the period of availability
for obligation of a fixed appropriation account ends, the account shall be closed and any remaining
balances (whether obligated or unobligated) in the account shall be canceled and thereafter shall
not be available for obligation or expenditure for any purpose.

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REPORTING REQUIREMENTS
Annual Federal Financial Report (FFR, SF-425): The Annual Federal Financial Report (FFR)
SF-425 is required and must be submitted no later than 90 days after the end of the budget
period in the Payment Management System.

Additional guidance on submission of Federal Financial Reports can be found at
https://www.cdc.gov/grants/documents/change-in-federal-reporting-fy-2021-recipients.pdf.

If more frequent reporting is required, the Notice of Award terms and conditions will explicitly state
the reporting requirement.

Annual Performance Progress and Monitoring Reporting: The Annual Performance Progress
and Monitoring Report (PPMR) is due no later than 120 days prior to the end of the budget period
and serves as the continuation application for the follow-on budget period. Submission instructions,
due date, and format will be included in the guidance from the assigned GMO/GMS via
www.grantsolutions.gov.

Any change to the existing information collection noted in the award terms and conditions will be
subject to review and approval by the Office of Management and Budget (OMB) under the
Paperwork Reduction Act.


Data Management Plan: CDC requires recipients for projects that involve the collection or
generation of data with federal funds to develop, submit and comply with a Data Management
Plan (DMP) for each collection or generation of public health data undertaken as part of the
award and, to the extent consistent with law and appropriate, provide access to and
archiving/long-term preservation of collected or generated data. Additional information on the
Data Management and Access requirements can be found at
https://www.cdc.gov/grants/additional-requirements/ar-25.html.

Audit Requirement Domestic Organizations (including US-based organizations implementing
projects with foreign components): An organization that expends $750,000 or more in a fiscal year
in federal awards shall have a single or program-specific audit conducted for that year in
accordance with the provisions of 45 CFR Part 75. The audit period is an organization’s fiscal year.
The audit must be completed along with a data collection form (SF-SAC), and the reporting
package shall be submitted within the earlier of 30 days after receipt of the auditor’s report(s), or
nine (9) months after the end of the audit period. The audit report must be sent to:

Federal Audit Clearing House Internet Data Entry System Electronic Submission:
https://harvester.census.gov/facides/(S(0vkw1zaelyzjibnahocga5i0))/account/login.aspx

AND

Office of Financial Resources, Risk Management and Internal Control Unit's Audit Resolution
Team (ART), RMICU.Audit.Resolution@cdc.gov.
Audit Requirement Foreign Organizations: An organization that expends $300,000 or more in a

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fiscal year on its federal awards must have a single or program-specific audit conducted for that
year. The audit period is an organization’s fiscal year. The auditor shall be a U.S.-based Certified
Public Accountant firm, the foreign government's Supreme Audit Institution or equivalent, or an
audit firm endorsed by the U.S. Agency for International Development's Office of Inspector General.
The audit must be completed in English and in US dollars, and submitted within the earlier of 30
days after receipt of the auditor’s report(s), or nine (9) months after the end of the audit period. The
audit report must be sent to the Office of Financial Resources, Risk Management and Internal
Control Unit's Audit Resolution Team (ART) at RMICU.Audit.Resolution@cdc.gov. After receipt of
the audit report, CDC will resolve findings by issuing Final Management Determination Letters.

Domestic and Foreign organizations: Audit requirements for Subrecipients to whom 45 CFR 75
Subpart F applies: The recipient must ensure that the subrecipients receiving CDC funds also meet
these requirements. The recipient must also ensure to take appropriate corrective action within six
months after receipt of the subrecipient audit report in instances of non-compliance with applicable
federal law and regulations (45 CFR 75 Subpart F and HHS Grants Policy Statement). The
recipient may consider whether subrecipient audits necessitate adjustment of the recipient's own
accounting records. If a subrecipient is not required to have a program-specific audit, the recipient
is still required to perform adequate monitoring of subrecipient activities. The recipient shall require
each subrecipient to permit the independent auditor access to the subrecipient's records and
financial statements. The recipient must include this requirement in all subrecipient contracts.

Required Disclosures for Federal Awardee Performance and Integrity Information System
(FAPIIS): Consistent with 45 CFR 75.113, applicants and recipients must disclose in a timely
manner, in writing to the CDC, with a copy to the HHS Office of Inspector General (OIG), all
information related to violations of federal criminal law involving fraud, bribery, or gratuity violations
potentially affecting the federal award. Subrecipients must disclose, in a timely manner in writing to
the prime recipient (pass through entity) and the HHS OIG, all information related to violations of
federal criminal law involving fraud, bribery, or gratuity violations potentially affecting the federal
award. Disclosures must be sent in writing to the assigned GMS/GMO identified in the NOA, and to
the HHS OIG at the following address:

    U.S. Department of Health and Human Services
    Office of the Inspector General
    ATTN: Mandatory Grant Disclosures, Intake Coordinator
    330 Independence Avenue, SW
    Cohen Building, Room 5527
    Washington, DC 20201

Fax: (202)-205-0604 (Include “Mandatory Grant Disclosures” in subject line) or Email:
MandatoryGranteeDisclosures@oig.hhs.gov

Recipients must include this mandatory disclosure requirement in all subawards and contracts
under this award.

Failure to make required disclosures can result in any of the remedies described in 45 CFR
75.371. Remedies for noncompliance, including suspension or debarment (See 2 CFR parts 180
and 376, and 31 U.S.C. 3321).

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CDC is required to report any termination of a federal award prior to the end of the period of
performance due to material failure to comply with the terms and conditions of this award in the
OMB-designated integrity and performance system accessible through SAM (currently FAPIIS)
(45 CFR 75.372(b)). CDC must also notify the recipient if the federal award is terminated for
failure to comply with the federal statutes, regulations, or terms and conditions of the federal
award (45 CFR 75.373(b)).
  1. General Reporting Requirement
  If the total value of currently active grants, cooperative agreements, and procurement contracts
  from all federal awarding agencies exceeds $10,000,000 for any period of time during the period
  of performance of this federal award, the recipient must maintain the currency of information
  reported to the System for Award Management (SAM) and made available in the designated
  integrity and performance system (currently the Federal Awardee Performance and Integrity
  Information System (FAPIIS)) about civil, criminal, or administrative proceedings described in
  section 2 of this award term and condition. This is a statutory requirement under section 872 of
  Public Law 110-417, as amended (41 U.S.C. 2313). As required by section 3010 of Public Law
  111-212, all information posted in the designated integrity and performance system on or after
  April 15, 2011, except past performance reviews required for federal procurement contracts, will
  be publicly available.
  2. Proceedings About Which You Must Report
       Submit the information required about each proceeding that:
             a. Is in connection with the award or performance of a grant, cooperative agreement,
                or procurement contract from the federal government;
             b. Reached its final disposition during the most recent five-year period; and
             c. If one of the following:
                  (1) A criminal proceeding that resulted in a conviction, as defined in paragraph 5 of
                      this award term and condition;
                  (2) A civil proceeding that resulted in a finding of fault and liability and payment of a
                      monetary fine, penalty, reimbursement, restitution, or damages of $5,000 or
                      more;
                  (3) An administrative proceeding, as defined in paragraph 5 of this award term and
                      condition, that resulted in a finding of fault and liability and your payment of
                      either a monetary fine or penalty of $5,000 or more or reimbursement,
                      restitution, or damages in excess of $100,000; or
                  (4) Any other criminal, civil, or administrative proceeding if:
                          (i) It could have led to an outcome described in paragraph 2.c.(1), (2), or
                              (3) of this award term and condition;
                          (ii) It had a different disposition arrived at by consent or compromise with an
                               acknowledgement of fault on your part; and
                          (iii) The requirement in this award term and condition to disclose information
                                about the proceeding does not conflict with applicable laws and
                                regulations.

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3. Reporting Procedures
     Enter in the SAM Entity Management area the information that SAM requires about each
proceeding described in section 2 of this award term and condition. You do not need to submit
the information a second time under assistance awards that you received if you already provided
the information through SAM because you were required to do so under federal procurement
contracts that you were awarded.

4. Reporting Frequency
      During any period of time when you are subject to this requirement in section 1 of this award
term and condition, you must report proceedings information through SAM for the most recent
five year period, either to report new information about any proceeding(s) that you have not
reported previously or affirm that there is no new information to report. Recipients that have
federal contract, grant, and cooperative agreement awards with a cumulative total value greater
than $10,000,000 must disclose semiannually any information about the criminal, civil, and
administrative proceedings.
5. Definitions
   For purposes of this award term and condition:
  a. Administrative proceeding means a non-judicial process that is adjudicatory in nature in order
     to make a determination of fault or liability (e.g., Securities and Exchange Commission
     Administrative proceedings, Civilian Board of Contract Appeals proceedings, and Armed
     Services Board of Contract Appeals proceedings). This includes proceedings at the federal
     and state level but only in connection with performance of a federal contract or grant. It does
     not include audits, site visits, corrective plans, or inspection of deliverables.
  b. Conviction, for purposes of this award term and condition, means a judgment or conviction
     of a criminal offense by any court of competent jurisdiction, whether entered upon a verdict
     or a plea, and includes a conviction entered upon a plea of nolo contendere.
  c. Total value of currently active grants, cooperative agreements, and procurement
     contracts includes—
           (1) Only the federal share of the funding under any federal award with a recipient cost
               share or match;
           (2) The value of all expected funding increments under a federal award and options,
               even if not yet exercised.




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GENERAL REQUIREMENTS
Termination (45 CFR Part 75.372) applies to this award and states, in part, the following:
     (a) This award may be terminated in whole or in part:

     (1) By the HHS awarding agency or pass-through entity, if a non-Federal entity fails to comply with
     the terms and conditions of a Federal award;

     (2) By the HHS awarding agency or pass-through entity for cause;

     (3) By the HHS awarding agency or pass-through entity with the consent of the non-Federal entity,
     in which case the two parties must agree upon the termination conditions, including the effective
     date and, in the case of partial termination, the portion to be terminated;

     (4) By the non-Federal entity upon sending to the HHS awarding agency or pass-through entity
     written notification setting forth the reasons for such termination, the effective date, and, in the
     case of partial termination, the portion to be terminated. However, if the Federal awarding agency
     or pass-through entity determines in the case of partial termination that the reduced or modified
     portion of the Federal award or subaward will not accomplish the purposes for which the Federal
     award was made, the HHS awarding agency or pass-through entity may terminate the Federal
     award in its entirety.

Travel Cost: In accordance with HHS Grants Policy Statement, travel costs are allowable when
the travel will provide a direct benefit to the project or program. To prevent disallowance of cost,
the recipient is responsible for ensuring travel costs are clearly stated in their budget narrative
and are applied in accordance with their organization's established travel policies and procedures.
The recipient’s established travel policies and procedures must also meet the requirements of 45
CFR Part 75.474.

Food and Meals: Costs associated with food or meals are allowable when consistent with
applicable federal regulations and HHS policies. See
https://www.hhs.gov/grants/contracts/contract-policies-regulations/spending-on-food/index.html.
In addition, costs must be clearly stated in the budget narrative and be consistent with
organization approved policies. Recipients must make a determination of reasonableness and
organization approved policies must meet the requirements of 45 CFR Part 75.432.

Prior Approval: All requests which require prior approval, must bear the signature (or electronic
authorization) of the authorized organization representative. The recipient must submit these
requests no later than 120 days prior to the budget period’s end date. Additionally, any requests
involving funding issues must include an itemized budget and a narrative justification of the
request.

The following types of requests are examples of actions that require prior approval, unless an
expanded authority, or conversely a high risk condition, is explicitly indicated in the NOA.

          Use of unobligated funds from prior budget period (Carryover)
          Lift funding restriction
          Significant redirection of funds (i.e., cumulative changes of 25% of total award)

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          Change in scope
          Implement a new activity or enter into a sub-award that is not specified in the approved
           budget
          Apply for supplemental funds
          Extensions to period of performance

Templates for prior approval requests can be found at:
https://www.cdc.gov/grants/already-have-grant/PriorApprovalRequests.html.

Additional information on the electronic grants administration system CDC non-research awards
utilize, Grants Solutions, can be found at: https://www.cdc.gov/grants/grantsolutions/index.html.

Key Personnel: In accordance with 45 CFR Part 75.308, CDC recipients must obtain prior approval
from CDC for (1) change in the project director/principal investigator, authorized organizational
representative, business official, financial director, or other key persons specified in the NOFO,
application or award document; and (2) the disengagement from the project for more than three
months, or a 25 percent reduction in time devoted to the project, by the approved project director or
principal investigator.

Inventions: Acceptance of grant funds obligates recipients to comply with the standard patent
rights clause in 37 CFR Part 401.14.

Acknowledgment of Federal Funding: When issuing statements, press releases, publications,
requests for proposal, bid solicitations and other documents --such as tool-kits, resource guides,
websites, and presentations (hereafter “statements”)--describing the projects or programs funded in
whole or in part with U.S. Department of Health and Human Services (HHS) federal funds, the
recipient must clearly state:
          1. the percentage and dollar amount of the total costs of the program or project funded
             with federal money; and,
          2. the percentage and dollar amount of the total costs of the project or program funded
             by non-governmental sources.

When issuing statements resulting from activities supported by HHS financial assistance, the
recipient entity must include an acknowledgement of federal assistance using one of the following
or a similar statement.

If the HHS Grant or Cooperative Agreement is NOT funded with other non-governmental sources:
         This [project/publication/program/website, etc.] [is/was] supported by the Centers for
         Disease Control and Prevention of the U.S. Department of Health and Human Services
         (HHS) as part of a financial assistance award totaling $XX with 100 percent funded by
         CDC/HHS. The contents are those of the author(s) and do not necessarily represent the
         official views of, nor an endorsement, by CDC/HHS, or the U.S. Government.
The HHS Grant or Cooperative Agreement IS partially funded with other non-governmental
sources:
          This [project/publication/program/website, etc.] [is/was] supported by the Centers for

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         Disease Control and Prevention of the U.S. Department of Health and Human Services
         (HHS) as part of a financial assistance award totaling $XX with XX percentage funded by
         CDC/HHS and $XX amount and XX percentage funded by non- government source(s). The
         contents are those of the author(s) and do not necessarily represent the official views of,
         nor an endorsement, by CDC/HHS, or the U.S. Government.

The federal award total must reflect total costs (direct and indirect) for all authorized funds
(including supplements and carryover) for the total competitive segment up to the time of the
public statement.

Any amendments by the recipient to the acknowledgement statement must be coordinated with
the HHS Awarding Agency.

If the recipient plans to issue a press release concerning the outcome of activities supported by
HHS financial assistance, it should notify the HHS Awarding Agency in advance to allow for
coordination.

Copyright Interests Provision: This provision is intended to ensure that the public has access to
the results and accomplishments of public health activities funded by CDC. Pursuant to applicable
grant regulations and CDC’s Public Access Policy, Recipient agrees to submit into the National
Institutes of Health (NIH) Manuscript Submission (NIHMS) system an electronic version of the final,
peer-reviewed manuscript of any such work developed under this award upon acceptance for
publication, to be made publicly available no later than 12 months after the official date of
publication. Also, at the time of submission, Recipient and/or the Recipient’s submitting author
must specify the date the final manuscript will be publicly accessible through PubMed Central
(PMC). Recipient and/or Recipient’s submitting author must also post the manuscript through PMC
within twelve (12) months of the publisher's official date of final publication; however, the author is
strongly encouraged to make the subject manuscript available as soon as possible. The recipient
must obtain prior approval from the CDC for any exception to this provision.

The author's final, peer-reviewed manuscript is defined as the final version accepted for journal
publication and includes all modifications from the publishing peer review process, and all graphics
and supplemental material associated with the article. Recipient and its submitting authors working
under this award are responsible for ensuring that any publishing or copyright agreements
concerning submitted article reserve adequate right to fully comply with this provision and the
license reserved by CDC. The manuscript will be hosted in both PMC and the CDC Stacks
institutional repository system. In progress reports for this award, recipient must identify publications
subject to the CDC Public Access Policy by using the applicable NIHMS identification number for up
to three (3) months after the publication date and the PubMed Central identification number
(PMCID) thereafter.

Disclaimer for Conference/Meeting/Seminar Materials: If a conference/meeting/seminar is
funded by a grant, cooperative agreement, sub-grant and/or a contract, the recipient must include
the following statement on conference materials, including promotional materials, agenda, and
internet sites:

          Funding for this conference was made possible (in part) by the Centers for Disease

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          Control and Prevention. The views expressed in written conference materials or
          publications and by speakers and moderators do not necessarily reflect the official
          policies of the Department of Health and Human Services, nor does the mention of trade
          names, commercial practices, or organizations imply endorsement by the U.S.
          Government.

Logo Use for Conference and Other Materials: Neither the Department of Health and Human
Services (HHS) nor the CDC logo may be displayed if such display would cause confusion as to the
funding source or give false appearance of Government endorsement. Use of the HHS name or
logo is governed by U.S.C. Part 1320b-10, which prohibits misuse of the HHS name and emblem in
written communication. A non-federal entity is not authorized to use the HHS name or logo
governed by U.S.C. Part 1320b-10. The appropriate use of the HHS logo is subject to review and
approval of the HHS Office of the Assistant Secretary for Public Affairs (OASPA). Moreover, the
HHS Office of the Inspector General has authority to impose civil monetary penalties for violations
(42 CFR Part 1003).

Additionally, the CDC logo cannot be used by the recipient without the express, written consent of
CDC. The Program Official/Project Officer identified in the NOA can assist with facilitating such a
request. It is the responsibility of the recipient to request consent for use of the logo in sufficient
detail to ensure a complete depiction and disclosure of all uses of the Government logos. In all
cases for utilization of Government logos, the recipient must ensure written consent is received.
Further, the HHS and CDC logo cannot be used by the recipient without a license agreement
setting forth the terms and conditions of use.

Equipment and Products: To the greatest extent practical, all equipment and products purchased
with CDC funds should be American-made. CDC defines equipment as tangible non- expendable
personal property (including exempt property) charged directly to an award having a useful life of
more than one year AND an acquisition cost of $5,000 or more per unit. However, consistent with
recipient policy, a lower threshold may be established. Please provide the information to the
Grants Management Officer to establish a lower equipment threshold to reflect your organization's
policy.

The recipient may use its own property management standards and procedures, provided it
observes provisions in applicable grant regulations found at 45 CFR Part 75.

Federal Information Security Management Act (FISMA): All information systems, electronic or
hard copy, that contain federal data must be protected from unauthorized access. This standard
also applies to information associated with CDC grants. Congress and the OMB have instituted
laws, policies and directives that govern the creation and implementation of federal information
security practices that pertain specifically to grants and contracts. The current regulations are
pursuant to the Federal Information Security Management Act (FISMA), Title III of the E-
Government Act of 2002, PL 107-347.

FISMA applies to CDC recipients only when recipients collect, store, process, transmit or use
information on behalf of HHS or any of its component organizations. In all other cases, FISMA is
not applicable to recipients of grants, including cooperative agreements. Under FISMA, the
recipient retains the original data and intellectual property, and is responsible for the security of

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these data, subject to all applicable laws protecting security, privacy, and research. If/When
information collected by a recipient is provided to HHS, responsibility for the protection of the HHS
copy of the information is transferred to HHS and it becomes the agency’s responsibility to protect
that information and any derivative copies as required by FISMA. For the full text of the
requirements under Federal Information Security Management Act (FISMA), Title III of the E-
Government Act of 2002 Pub. L. No. 107-347, please review the following website:
https://www.govinfo.gov/content/pkg/PLAW-107publ347/pdf/PLAW-107publ347.pdf.

Pilot Program for Enhancement of Contractor Employee Whistleblower Protections:
Recipients are hereby given notice that the 48 CFR section 3.908, implementing section 828,
entitled “Pilot Program for Enhancement of Contractor Employee Whistleblower Protections,” of
the National Defense Authorization Act (NDAA) for Fiscal Year (FY) 2013 (Pub. L. 112- 239,
enacted January 2, 2013), applies to this award.

Federal Acquisition Regulations
As promulgated in the Federal Register, the relevant portions of 48 CFR section 3.908 read as
follows (note that use of the term “contract,” “contractor,” “subcontract,” or “subcontractor” for the
purpose of this term and condition, should be read as “grant,” “recipient,” “subgrant,” or
“subrecipient”):

3.908 Pilot program for enhancement of contractor employee whistleblower protections.

3.908-1 Scope of section.

  (a) This section implements 41 U.S.C. 4712.
  (b) This section does not apply to-
          (1) DoD, NASA, and the Coast Guard; or
          (2) Any element of the intelligence community, as defined in section 3(4) of the National
              Security Act of 1947 (50 U.S.C. 3003(4)). This section does not apply to any
              disclosure made by an employee of a contractor or subcontractor of an element of the
              intelligence community if such disclosure-
                  (i) Relates to an activity of an element of the intelligence community; or
                  (ii) Was discovered during contract or subcontract services provided to an element
                       of the intelligence community.
3.908-2 Definitions.
As used in this section-
“Abuse of authority” means an arbitrary and capricious exercise of authority that is inconsistent with the
mission of the executive agency concerned or the successful performance of a contract of such
agency.

“Inspector General” means an Inspector General appointed under the Inspector General Act of 1978
and any Inspector General that receives funding from, or has oversight over contracts awarded for, or
on behalf of, the executive agency concerned.

3.908-3 Policy.


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  (a) Contractors and subcontractors are prohibited from discharging, demoting, or otherwise
      discriminating against an employee as a reprisal for disclosing, to any of the entities listed at
      paragraph (b) of this subsection, information that the employee reasonably believes is
      evidence of gross mismanagement of a federal contract, a gross waste of federal funds, an
      abuse of authority relating to a federal contract, a substantial and specific danger to public
      health or safety, or a violation of law, rule, or regulation related to a federal contract (including
      the competition for or negotiation of a contract). A reprisal is prohibited even if it is undertaken
      at the request of an executive branch official, unless the request takes the form of a non-
      discretionary directive and is within the authority of the executive branch official making the
      request.
  (b) Entities to whom disclosure may be made.
          (1) A Member of Congress or a representative of a committee of Congress.
          (2) An Inspector General.
          (3) The Government Accountability Office.
          (4) A federal employee responsible for contract oversight or management at the
              relevant agency.
          (5) An authorized official of the Department of Justice or other law enforcement agency.
          (6) A court or grand jury.
          (7) A management official or other employee of the contractor or subcontractor who has
              the responsibility to investigate, discover, or address misconduct.
  (c) An employee who initiates or provides evidence of contractor or subcontractor misconduct in
      any judicial or administrative proceeding relating to waste, fraud, or abuse on a federal
      contract shall be deemed to have made a disclosure.

3.908-9 Contract clause.
  Contractor Employee Whistleblower Rights and Requirement to Inform Employees of
  Whistleblower Rights (Sept. 2013)
  (a) This contract and employees working on this contract will be subject to the whistleblower
      rights and remedies in the pilot program on Contractor employee whistleblower protections
      established at 41 U.S.C. 4712 by section 828 of the National Defense Authorization Act for
      Fiscal Year 2013 (Pub. L. 112-239) and FAR 3.908.
  (b) The Contractor shall inform its employees in writing, in the predominant language of the
      workforce, of employee whistleblower rights and protections under 41 U.S.C. 4712, as
      described in section 3.908 of the Federal Acquisition Regulation.
  (c) The Contractor shall insert the substance of this clause, including this paragraph (c), in all
      subcontracts over the simplified acquisition threshold.




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PAYMENT INFORMATION
Fraud Waste or Abuse: The HHS Office of the Inspector General (OIG) maintains a toll-free
number (1-800-HHS-TIPS [1-800-447-8477]) for receiving information concerning fraud, waste, or
abuse under grants and cooperative agreements. Information also may be submitted by e-mail to
hhstips@oig.hhs.gov or by mail to Office of the Inspector General, Department of Health and
Human Services, Attn: HOTLINE, 330 Independence Ave., SW, Washington DC 20201. Such
reports are treated as sensitive material and submitters may decline to give their names if they
choose to remain anonymous.

Automatic Drawdown (Direct/Advance Payments): Payments under CDC awards will be made
available through the Department of Health and Human Services (HHS) Payment Management
System (PMS), under automatic drawdown, unless specified otherwise in the NOA. Recipients must
comply with requirements imposed by the PMS on-line system. Questions concerning award
payments or audit inquiries should be directed to the payment management services office.

PMS Website: https://pms.psc.gov/ PMS
Phone Support: +1(877)614-5533
PMS Email Support: PMSSupport@psc.gov

Payment Management System Subaccount: Funds awarded in support of approved activities
will be obligated in an established subaccount in the PMS. Funds must be used in support of
approved activities in the NOFO and the approved application. All award funds must be tracked
and reported separately.

Exchange Rate: All requests for funds contained in the budget, shall be stated in U.S. dollars.
Once an award is made, CDC will generally not compensate foreign recipients for currency
exchange fluctuations through the issuance of supplemental awards.

Acceptance of the Terms of an Award: By drawing or otherwise obtaining funds from PMS, the
recipient acknowledges acceptance of the terms and conditions of the award and is obligated to
perform in accordance with the requirements of the award. If the recipient cannot accept the terms,
the recipient should notify the Grants Management Officer within thirty (30) days of receipt of the
NOA.

Certification Statement: By drawing down funds, the recipient certifies that proper financial
management controls and accounting systems, to include personnel policies and procedures,
have been established to adequately administer federal awards and funds drawn down.
Recipients must comply with all terms and conditions in the NOFO, outlined in their NOA,
grant policy terms and conditions contained in applicable HHS Grant Policy Statements, and
requirements imposed by program statutes and regulations and HHS grants administration
regulations, as applicable; as well as any regulations or limitations in any applicable
appropriations acts.




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CLOSEOUT REQUIREMENTS
Recipients must submit all closeout reports identified in this section within 90 days of the period of
performance end date. The reporting timeframe is the full period of performance. If the recipient does
not submit all reports in accordance with this section and the terms and conditions of the Federal
Award, CDC may proceed to close out with the information available within one year of the period of
performance end date unless otherwise directed by authorizing statutes. Failure to submit timely and
accurate final reports may affect future funding to the organization or awards under the direction of
the same Project Director/Principal Investigator (PD/PI).

Final Performance Progress and Evaluation Report (PPER): This report should include the
information specified in the NOFO and is submitted upon solicitation from the GMS/GMO via
www.grantsolutions.gov. At a minimum, the report will include the following:
               Statement of progress made toward the achievement of originally stated aims;
               Description of results (positive or negative) considered significant; and
               List of publications resulting from the project, with plans, if any, for further publication.

All manuscripts published as a result of the work supported in part or whole by the grant must be
submitted with the performance progress reports.

Final Federal Financial Report (FFR, SF-425): The FFR should only include those funds
authorized and expended during the timeframe covered by the report. The Final FFR, SF-425 is
required and must be submitted no later than 90 days after the period of performance end date
through recipient online accounts in the Payment Management System. The final FFR will
consolidate data reporting responsibilities to one entry point within PMS which will assist with the
reconciliation of expenditures and disbursements to support the timely close-out of grants.

The final FFR must indicate the exact balance of unobligated funds and may not reflect any
unliquidated obligations. Remaining unobligated funds will be de-obligated and returned
to the U.S. Treasury.

Every recipient should already have a PMS account to allow access to complete the SF-425.

Additional guidance on submission of Federal Financial Reports can be found at
https://www.cdc.gov/grants/documents/change-in-federal-reporting-fy-2021-recipients.pdf.

Equipment and Supplies - Tangible Personal Property Report (SF-428): A completed Tangible
Personal Property Report SF-428 and Final Report SF-428B addendum must be submitted, along
with any Supplemental Sheet SF-428S detailing all major equipment acquired or furnished under
this project with a unit acquisition cost of $5,000 or more. Electronic versions of the forms can be
downloaded by visiting: https://www.grants.gov/web/grants/forms/post-award- reporting-
forms.html#sortby=1.

If no equipment was acquired under an award, a negative report is required. The recipient must
identify each item of equipment that it wishes to retain for continued use in accordance with 45
CFR Part 75. The awarding agency may exercise its rights to require the transfer of equipment
purchased under the assistance award. CDC will notify the recipient if transfer to title will be
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required and provide disposition instruction on all major equipment.

Equipment with a unit acquisition cost of less than $5,000 that is no longer to be used in projects or
programs currently or previously sponsored by the federal government may be retained, sold, or
otherwise disposed of, with no further obligation to the federal government.

CDC STAFF RESPONSIBILITIES
Roles and Responsibilities: Grants Management Specialists/Officers (GMO/GMS) and
Program Officials (PO) work together to award and manage CDC grants and cooperative
agreements. From the pre-planning stage to closeout of an award, grants management and
program staff have specific roles and responsibilities for each phase of the grant cycle. Award
specific terms and conditions will include contact information for the PO/GMO/GMS.

Program Official: The PO is the federal official responsible for monitoring the programmatic,
scientific, and/or technical aspects of grants and cooperative agreements including:
         The development of programs and NOFOs to meet the CDC’s mission;
         Providing technical assistance to applicants in developing their applications, e.g.,
          explanation of programmatic requirements, regulations, evaluation criteria, and guidance
          to applicants on possible linkages with other resources;
         Providing technical assistance to recipients in the performance of their project; and
         Post-award monitoring of recipient performance such as review of progress reports,
          review of prior approval requests, conducting site visits, and other activities
          complementary to those of the GMO/GMS.

For Cooperative Agreements, substantial involvement is required from CDC. The PO is the federal
official responsible for the collaboration or participation in carrying out the effort under the award.
Substantial involvement will be detailed in the NOFO and award specific terms and conditions and
may include, but is not limited to:
         Review and approval of one stage of work before work can begin on a subsequent stage;
         Review and approval of substantive programmatic provisions of proposed subawards
          or contracts (beyond existing federal review of procurement or sole source policies);
         Involvement in the selection of key relevant personnel;
         CDC and recipient collaboration or joint participation; and
         Implementing highly prescriptive requirements prior to award limiting recipient discretion
          with respect to scope of services, organizational structure, staffing, mode of operation,
          and other management processes.

Grants Management Officer: The GMO is the only official authorized to obligate federal funds
and is responsible for signing the NOA, including revisions to the NOA that change the terms and
conditions. The GMO serves as the counterpart to the business officer of the recipient
organization. The GMO is the federal official responsible for the business and other non-
programmatic aspects of grant awards including:
         Determining the appropriate award instrument, i.e., grant or cooperative agreement;

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         Determining if an application meets the requirements of the NOFO;
         Ensuring objective reviews are conducted in an above-the-board manner and according to
          guidelines set forth in grants policy;
         Ensuring recipient compliance with applicable laws, regulations, and policies;
         Negotiating awards, including budgets;
         Responding to recipient inquiries regarding the business and administrative aspects of an
          award;
         Providing recipients with guidance on the closeout process and administering the closeout
          of grants;
         Receiving and processing reports and prior approval requests such as changes in funding,
          budget redirection, or changes to the terms and conditions of an award; and
         Maintaining the official grant file and program book.

Grants Management Specialist: The GMS is the federal staff member responsible for the day-
to-day management of grants and cooperative agreements. The GMS is the primary contact of
recipients for business and administrative matters pertinent to grant awards. Many of the
functions described in the GMO section are performed by the GMS, on behalf of the GMO.




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